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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF MINNESOTA
________________________________________________________________

UNITED STATES OF AMERICA,

                 Plaintiff,


v.                                   ORDER
                                     Criminal File No. 05-282 (MJD/JJG)


(1) CHRISTOPHER WILLIAM SMITH,

               Defendant.
________________________________________________________________

     IT IS HEREBY ORDERED that:

     1.    Paragraph two of the Court’s May 2, 2006, Order setting forth the
           conditions of confinement of Defendant Christopher William Smith is
           modified as follows:

           Defendant Smith is permitted to meet in person with all
           licensed attorneys employed by Joseph S. Friedberg,
           Chartered, including Joseph Friedberg, Lisa Lodin Peralta, and
           Casey Oppenheim, and with William Michael, Jr., of Lindquist
           & Vennum. Defendant Smith shall have no other visitation
           privileges.

     2.    All other conditions set forth in the Court’s May 2, 2006 Order remain
           the same.




Dated: June 19, 2006                        s / Michael J. Davis
                                            Judge Michael J. Davis
                                            United States District Court
